Case: 1:04-cr-00464 Document #: 341 Filed: 08/30/04 Page 1 of 9 PageID #:820
Case: 1:04-cr-00464 Document #: 341 Filed: 08/30/04 Page 2 of 9 PageID #:821
Case: 1:04-cr-00464 Document #: 341 Filed: 08/30/04 Page 3 of 9 PageID #:822
Case: 1:04-cr-00464 Document #: 341 Filed: 08/30/04 Page 4 of 9 PageID #:823
Case: 1:04-cr-00464 Document #: 341 Filed: 08/30/04 Page 5 of 9 PageID #:824
Case: 1:04-cr-00464 Document #: 341 Filed: 08/30/04 Page 6 of 9 PageID #:825
Case: 1:04-cr-00464 Document #: 341 Filed: 08/30/04 Page 7 of 9 PageID #:826
Case: 1:04-cr-00464 Document #: 341 Filed: 08/30/04 Page 8 of 9 PageID #:827
Case: 1:04-cr-00464 Document #: 341 Filed: 08/30/04 Page 9 of 9 PageID #:828
